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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF WISCONSIN


JEREMY GUSLOFF,

               Plaintiff,

       v.                                                             Case No. 21-cv-662

QUINCY BIOSCIENCE HOLDING COMPANY, INC.

               Defendant.


                                  ANSWER TO COLLECTIVE AND
                                   CLASS ACTION COMPLAINT


       Now     comes        Defendant,   Quincy   Bioscience   Holding   Company,     Inc.   (“Quincy

Bioscience”), by and through its attorneys, Lindner & Marsack, S.C., and as for its Answer in

response to the Complaint of Plaintiff, Jeremy Gusloff (“Plaintiff” or “Gusloff”), states as follows:

                                    PRELIMINARY STATEMENT

        1.    This is a collective and class action brought by Individual and
Representative Plaintiff, Jeremy Gusloff (''Plaintiff'), on his own behalf and on behalf of
the proposed classes identified below. Plaintiff and the putative class members, during
the three years preceding this lawsuit, were employed as sales representatives by
Defendant, Quincy Bioscience Holding Company, Inc. In this role, Plaintiff and the
putative class members made sales over the phone. Plaintiff and the putative class
members were paid an hourly wage and were also eligible for nondiscretionary
commissions and bonuses based on their sales. Plaintiff and the putative class members
were paid overtime wages when they worked in excess of 40 hours in a workweek.
However, Defendant failed to properly calculate the regular rate of pay when determining
overtime wages. Specifically, Defendant failed to include commission payments in its
computation of the regular rate for overtime pay to Plaintiff and the putative class
members. As a result, Plaintiff and the putative class members were regularly denied
earned overtime wages. Plaintiff, on behalf of himself and the putative classes, alleges
that this conduct violates the Fair Labor Standards Act ("FLSA"), 29 U.S.C.§ 201 et seq.
and the Wisconsin Wage Payment and Collection Act, Wis. Stat. § 109.01 et seq.

       ANSWER: Quincy Bioscience admits that the action is purportedly a collective and class

action brought pursuant to the Fair Labor Standards Act of 1938, as amended, (“FLSA”), 29

U.S.C.§ 201 et seq., and the Wisconsin Wage Payment and Collection Act, Wis. Stat. § 109.01




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et seq. Quincy Bioscience admits that Gusloff was employed as a sales representative by

Quincy Bioscience and that in this role Plaintiff made sales over the phone. Quincy Bioscience

further admits that Plaintiff was paid an hourly wage and commissions and was paid overtime

wages when he worked in excess of 40 hours in a workweek. Quincy Bioscience denies any

allegation or inference that any of the aforementioned provisions of the aforesaid laws were

violated by Quincy Bioscience and it further denies all remaining allegations contained in

Paragraph 1 of the Complaint.

                                  JURISDICTION AND VENUE

      2.     The Court has original jurisdiction over this action under 28 U.S.C. § 1331
because Plaintiff asserts claims under the FLSA, 29 U.S.C. § 201 et seq. The Court has
supplemental jurisdiction over Plaintiffs state-law claims pursuant to 28 U.S.C. § 1367.

        ANSWER: Quincy Bioscience admits that this action is purportedly based on federal

statutes, but avers that it is unable to confer jurisdiction by admission, and therefore, denies the

allegations in Paragraph 2 of the Complaint. Quincy Bioscience denies any allegation or

inference that any of the aforementioned provisions of the FLSA or state law were violated by

Quincy Bioscience.

      3.     Venue is proper in the Western District of Wisconsin under 28 U.S.C. §
1391 because Defendant resides in this district and because a substantial part of the
events or omissions giving rise to Plaintiffs claims occurred in this district.

        ANSWER: Quincy Bioscience admits that the events alleged in the Complaint are

alleged to have taken place in this District; however, Quincy Bioscience denies such allegations

to the extent they are further alleged herein. Quincy Bioscience admits that it does business in

this District. Quincy Bioscience lacks knowledge or information sufficient to form a belief as to

the truth of the remaining allegations of Paragraph 3 of the Complaint and therefore denies

same.

                                                PARTIES

      4.      Plaintiff, Jeremy Gusloff, is an adult resident of Ridgeway, Wisconsin.
Gusloff was employed as a sales representative by Defendant within the past three years.
Gusloff’s signed consent form is filed as Exhibit A to this Complaint and is incorporated


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herein by reference.

       ANSWER: Quincy Bioscience admits that Gusloff was employed as a sales

representative by Defendant within the past three years, but lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations of Paragraph 4 of the

Complaint and therefore denies same.

       5.    Defendant, Quincy Bioscience Holding Company, Inc., is a domestic
business corporation. Its principal office address is located at 726 Heartland Trail, Suite
300, Madison, Wisconsin. Its registered agent for service is Anthony J. Cords at 726
Heartland Trail, Suite 300, Madison, Wisconsin.

       ANSWER: Quincy Bioscience admits the allegations in Paragraph 5 of the Complaint.

       6.      Defendant is an enterprise engaged in commerce within the meaning of 29
U.S.C. § 203(s)(l). Defendant is an employer within the meaning of 29 U.S.C. § 203(d),
Wis. Stat. § 103.001(6), and Wis. Stat. § 109.01(2).

       ANSWER: Quincy Bioscience avers that whether Defendant is an enterprise engaged in

commerce the within meaning of 29 U.S.C. 203(s)(l), or an employer within the meaning of 29

U.S.C. § 203(d), Wis. Stat. § 103.001(6), and Wis. Stat. § 109.01(2) is a legal conclusion for

which no response is required. To the extent a response is required, Quincy Bioscience lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 6 of the Complaint and therefore denies same.

                                   FACTUAL ALLEGATIONS

      7.     Throughout the three years preceding the filing of this lawsuit, Plaintiff and
the putative class members (the "Sales Representatives") are or were employed by
Defendant as sales representatives.

       ANSWER: Quincy Bioscience admits that during the three years preceding the filing of

this lawsuit, Plaintiff and the purported putative class members are or were employed by

Defendant as sales representatives, but denies that Plaintiff or the purported putative class

members were employed by Defendant throughout the entire three years preceding the filing of

this lawsuit and denies that the purported putative class is appropriate under the law.

        8.     Throughout the three-year period preceding the filing of this lawsuit,
Plaintiff and the Sales Representatives were classified by Defendant as non-exempt from


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overtime wages.

       ANSWER: Quincy Bioscience admits that during the three years preceding the filing of

this lawsuit, Plaintiff and the purported putative class members were classified as non-exempt

from overtime wages, but denies that Plaintiff or the purported putative class members were

employed and/or classified as non-exempt by Defendant throughout the entire three years

preceding the filing of this lawsuit and denies that the purported putative class is appropriate

under the law.

        9.     Throughout the three-year period preceding the filing of this lawsuit,
Plaintiff and the Sales Representatives were paid an hourly wage for their work.

       ANSWER: Quincy Bioscience admits that during the three years preceding the filing of

this lawsuit, Plaintiff and the purported putative class members were paid an hourly wage, but

denies that Plaintiff or the purported putative class members were employed and/or were paid

an hourly wage throughout the entire three years preceding the filing of this lawsuit and denies

that the purported putative class is appropriate under the law.

        10.    Throughout the three-year period preceding the filing of this Complaint,
Plaintiff and the Sales Representatives were eligible to earn commissions and bonuses.

       ANSWER: Quincy Bioscience admits that during the three years preceding the filing of

this lawsuit, Plaintiff and the purported putative class members were eligible to earn

commissions and bonuses, but denies that Plaintiff or the purported putative class members

were employed and/or were eligible to earn commissions and bonuses throughout the entire

three years preceding the filing of this lawsuit and denies that the purported putative class is

appropriate under the law.

      11.   Defendant calculated the amounts of these commissions and bonuses
based on Plaintiff’s and the Sales Representatives' sales using standard formulas that
Defendant made known to Plaintiff and the Sales Representatives

       ANSWER:         Quincy Bioscience admits Defendant calculated the amounts of

commissions based on Plaintiff’s and the purported putative class members’ sales using a




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formula, but lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 11 of the Complaint and therefore denies same.

        12.    Defendant promised in advance to pay these commissions and bonuses to
Plaintiff and the Sales Representatives as an incentive to increase their sales.

       ANSWER: Quincy Bioscience denies the allegations in Paragraph 12 of the Complaint.

        13.    Throughout the three-year period preceding the filing of this Complaint,
Plaintiff and the Sales Representatives were paid overtime wages when they worked in
excess of 40 hours in a workweek.

       ANSWER: Quincy Bioscience admits the allegations in Paragraph 13 of the Complaint.

       14.    Upon information and belief, Defendant failed to include commissions or
bonuses earned by Plaintiff and the Sales Representatives when calculating the overtime
premium due for hours worked in excess of 40 in a workweek, instead calculating the
overtime rate as one and one-half times the hourly rate of pay and depriving Plaintiff and
the Sales Representatives of all earned overtime wages.

       ANSWER: Quincy Bioscience denies the allegations in Paragraph 14 of the Complaint.

       15.     Plaintiff brings this action on behalf of himself and on behalf of all other
similarly-situated employees pursuant to 29 U.S.C. § 216(b). The Collective Class of
similarly-situated employees is defined as:

       All persons who have been or are currently employed by Quincy Bioscience
       Holding Company, Inc., as sales representatives in the United States who
       received commission or bonus payments and who worked more than 40
       hours per workweek at any time from three years prior to the
       commencement of this action to the present and ongoing.

       ANSWER: Quincy Bioscience admits Plaintiff purports to bring this action on behalf of

himself and on behalf of the class identified, but denies that the purported class is appropriate

under the law and denies the remaining allegations set forth in Paragraph 15 of the Complaint.

       16.     Plaintiff brings this action on behalf of himself and on behalf of all other
similarly-situated employees pursuant to Fed. R. Civ. P. 23. The Wisconsin Overtime
Class is defined as:

       All persons who have been or are currently employed by Quincy Bioscience
       Holding Company, Inc., as sales representatives in Wisconsin who received
       commission or bonus payments and who worked more than 40 hours per
       workweek at any time from two years prior to the commencement of this
       action to the present and ongoing.




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       ANSWER: Quincy Bioscience admits Plaintiff purports to bring this action on behalf of

himself and on behalf of the class identified, but denies that the purported class is appropriate

under the law and denies the remaining allegations set forth in Paragraph 16 of the Complaint.

                                       CLASS ALLEGATIONS

       17.     Plaintiff brings the Second Claim for Relief on his own behalf and on behalf
of the Wisconsin Overtime Class, as defined in paragraph 14, supra, pursuant to Rule
23(a) and (b) of the Federal Rules of Civil Procedure

       ANSWER: Quincy Bioscience admits Plaintiff purports to bring the Second Claim for

Relief on his own behalf and on behalf of the class identified in Paragraph 14 of the Complaint,

but denies that the purported class in Paragraph 14 of the Complaint is appropriate under the

law and denies the remaining allegations set forth in Paragraph 17 of the Complaint

       18.   The persons in the Wisconsin Overtime Class are so numerous that joinder
of all members is impracticable. Although the precise number of such persons is
unknown, upon information and belief, Defendant has employed more than 40 Sales
Representatives within the two years preceding the filing of this Complaint.

       ANSWER: Quincy Bioscience denies the allegations in Paragraph 18 of the Complaint.

       19.     There are questions of law and fact common to the Wisconsin Overtime
Class that are capable of class-wide resolution and predominate over any questions
solely affecting individual members of the class, including but not limited to:

       a.     Whether Defendant excluded commissions and/or bonus payments
              when calculating the regular rate of pay for Plaintiff and the members
              of the putative class;

       b.     Whether Defendant's exclusion of commission and/or bonus
              payments when calculating the regular rate of pay for Plaintiff and
              the members of the putative class was dilatory or otherwise unjust;
              and

       c.     The proper measure of damages sustained by Plaintiff and the
              members of the putative class.

       ANSWER: Quincy Bioscience lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 19 and in subsections 19(a), 19(b) and 19(c) of

the Complaint and therefore denies the allegations in Paragraph 19 and in subsections 19(a),

19(b), and 19(c) of the Complaint.



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        20.     Plaintiff’s claims are typical of those of the Wisconsin Overtime Class.
Plaintiff, like other putative members of the Wisconsin Overtime Class, was subjected to
Defendant's illegal pay policies and practices of excluding commissions and/or bonuses
from the regular rate of pay when calculating overtime wages for hours worked in excess
of 40 in a workweek.

       ANSWER: Quincy Bioscience lacks knowledge or information sufficient to form a belief

as to the truth of whether Plaintiff’s claims are typical of those of the Wisconsin Overtime Class

and therefore denies same. Quincy Bioscience denies the remaining allegations in Paragraph

20 of the Complaint.

        21.    Plaintiff will fairly and adequately protect the interests of the putative
Wisconsin Overtime Class and has retained counsel experienced in complex wage and
hour litigation.

       ANSWER: Quincy Bioscience lacks knowledge or information sufficient to form a belief

as to the truth of the allegations of Paragraph 21 of the Complaint and therefore denies same.

         22.   A class action is superior to other available methods for the fair and
efficient adjudication of the controversy, particularly in the context of wage and hour
litigation where individual plaintiffs lack the financial resources to vigorously prosecute
separate lawsuits in federal court against a large corporate defendant and where
individual plaintiffs may have relatively small claims.

       ANSWER: Quincy Bioscience lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 22 of the Complaint and therefore denies same.

        23.    Class certification of the Second Claim for Relief is appropriate under Fed.
R. Civ. P. 23(b)(3) because questions of law and fact common to the Wisconsin Overtime
Class predominate over any questions affecting only individual members of the classes,
and because a class action is superior to other available methods for the fair and efficient
adjudication of this litigation. Defendant's common and uniform policies and practices
denied the Wisconsin Overtime Class wages for work performed to which they are
entitled. The damages suffered by the individual members of these classes are small
compared to the expense and burden of individual prosecution of this litigation. In
addition, combining all members subject to Defendant's uniform illegal policies in a single
suit best serves the interests of judicial efficiency. Finally, class certification is superior
because it will obviate the need for unduly duplicative litigation that might result in
inconsistent judgments about Defendant's pay practices.

       ANSWER: Quincy Bioscience denies the allegations in Paragraph 23 of the Complaint.

       24.    Plaintiff intends to send notice to all members of the Wisconsin Overtime
Class to the extent required by Fed. R. Civ. P. 23.




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       ANSWER: Quincy Bioscience lacks knowledge or information sufficient to form a belief

as to the truth of the allegations of Paragraph 24 of the Complaint and therefore denies same.

                                      FIRST CLAIM FOR RELIEF
                                Failure to Pay Overtime Compensation
                                        In Violation of the FLSA

      25.    Plaintiff, individually and on behalf of the Collective Class, alleges and
incorporates by reference the allegations in the preceding paragraphs.

       ANSWER: Quincy Bioscience incorporates its answers and averments contained in

Paragraphs 1 through 24 above as though fully set forth herein.

       26.  Plaintiff and the members of the Collective Class are or have been
employees of Quincy Bioscience Holding Company, Inc., within the meaning of 29 U.S.C.
§ 203(e).

       ANSWER: Quincy Bioscience avers that whether Plaintiff and the members of the

Collective Class are or have been employees of Quincy Bioscience Holding Company, Inc.,

within the meaning of 29 U.S.C. § 203(e) is a legal conclusion for which no response is

required. To the extent a response is required, Quincy Bioscience denies the allegations in

Paragraph 26 of the Complaint.

      27.   The FLSA requires each covered employer to compensate all non-exempt
employees at a rate of not less than one and one-half times their regular rate of pay for
hours worked in excess of 40 in a workweek.

       ANSWER: Quincy Bioscience avers that Paragraph 27 asserts a legal conclusion for

which no response is required. To the extent a response is required, Defendant lacks knowledge

or information sufficient to form a belief as to the truth of the allegations in Paragraph 27 of the

Complaint and therefore denies same.

      28.    Per 29 C.F.R. § 778.117, commissions are payments for hours worked and
must be included in the regular rate.

       ANSWER: Quincy Bioscience avers that Paragraph 28 asserts a legal conclusion for

which no response is required. To the extent a response is required, Defendant lacks knowledge

or information sufficient to form a belief as to the truth of the allegations in Paragraph 27 of the

Complaint and therefore denies same.


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       29.    During the applicable statute of limitations, Plaintiff and the members of
the Collective Class performed work in excess of 40 hours in a workweek but were not
paid one and one-half times their regular rate of pay for all overtime hours worked
because Defendant failed to include commission and/or bonus payments when
calculating the regular rate of pay.

       ANSWER: Quincy Bioscience denies the allegations in Paragraph 29 of the Complaint.

       30.    These practices violate the FLSA, including but not limited to 29 U.S.C. §
207.

       ANSWER: Quincy Bioscience denies the allegations in Paragraph 30 of the Complaint.

       31.   Because of these violations, Plaintiff and the members of the Collective
Class have suffered a wage loss.

       ANSWER: Quincy Bioscience denies the allegations in Paragraph 31 of the Complaint.

       32.     Upon information and belief, Defendant knew or showed reckless disregard
for the fact that it failed to pay Plaintiff and the members of the Collective Class overtime
wage compensation in violation of the FLSA.

       ANSWER: Quincy Bioscience denies the allegations in Paragraph 32 of the Complaint.

                                SECOND CLAIM FOR RELIEF
                               Failure to Pay Overtime Wages
                               in Violation of Wisconsin Law

       33.   Plaintiff, individually and on behalf of the Wisconsin Overtime Class,
realleges and incorporates by reference the allegations in the preceding paragraphs.

       ANSWER: Quincy Bioscience incorporates its answers and averments contained in

Paragraphs 1 through 32 above as though fully set forth herein.

       34.   The foregoing conduct, as alleged, violates Wis. Stat. § 103.03, Wis. Stat. §
109.03, and Wis. Admin. Code § DWD 274.03.

       ANSWER: Quincy Bioscience denies the allegations in Paragraph 34 of the Complaint.

       35.   At all relevant times, Quincy Bioscience Holding Company, Inc., has been,
and continues to be, an employer within the meaning of Wis. Stat. § 103.001 and Wis. Stat.
§ 109.01(2).

       ANSWER: Quincy Bioscience avers that whether Quincy Bioscience Holding Company,

Inc., has been, and continues to be, an employer within the meaning of Wis. Stat. § 103.001 and

Wis. Stat. § 109.01(2) is a legal conclusion for which no response is required. To the extent a

response is required, Quincy Bioscience lacks knowledge or information sufficient to form a


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belief as to the truth of the allegations in Paragraph 35 of the Complaint and therefore denies

same.

        36.   At all relevant times, Plaintiff and the members of the putative Wisconsin
Overtime Class are or have been employees of Defendant within the meaning of Wis.
Stat. § 103.001(5) and Wis. Stat. § 109.0H(1r).

        ANSWER:      Quincy Bioscience avers that whether Plaintiff and the members of the

putative Wisconsin Overtime Class are or have been employees of Defendant within the

meaning of Wis. Stat. § 103.001(5) and Wis. Stat. § 109.0H(1r) is a legal conclusion for which

no response is required.     To the extent a response is required, Quincy Bioscience lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in Paragraph

36 of the Complaint and therefore denies same.

        37.   Wis. Stat. § 103.02 and Wis. Admin. Code § DWD 274.03 require an
employer to pay overtime compensation at one and one-half times the regular rate of pay
to all non-exempt employees for hours worked in excess of 40 in a workweek.

        ANSWER: Quincy Bioscience avers that Paragraph 37 asserts a legal conclusion for

which no response is required. To the extent a response is required, Defendant lacks knowledge

or information sufficient to form a belief as to the truth of the allegations in Paragraph 37 of the

Complaint and therefore denies same.

       38.     During the applicable statute of limitations, Defendant had a policy and
practice of failing to pay overtime wages at one and one-half times the regular rate of pay
to Plaintiff and the members of the Wisconsin Overtime Class for all hours worked in
excess of 40 in a workweek by failing to include earned commissions and/or bonuses in
calculating the regular rate.

        ANSWER: Quincy Bioscience denies the allegations in Paragraph 38 of the Complaint.

       39.     As a result of Defendant's failure to pay all overtime wages earned and due
to Plaintiff and the members of the putative Wisconsin Overtime Class, Defendant has
violated, and continues to violate, Wis. Stat. § 103.02, Wis. Stat. § 109.03, and Wis.
Admin. Code § DWD 274.03.

        ANSWER: Quincy Bioscience denies the allegations in Paragraph 39 of the Complaint.

       40. Upon information and belief, Defendant's failure to pay Plaintiff and the
members of the putative Wisconsin Overtime Class all earned overtime wages was
dilatory and unjust.



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       ANSWER: Quincy Bioscience denies the allegations in Paragraph 40 of the Complaint.

                     AFFIRMATIVE DEFENSES AND OTHER DEFENSES

       Without undertaking a burden of proof except where strictly required by law, Defendant,

Quincy Bioscience Holding Company, Inc. states the following affirmative and other defenses.

       1.      Plaintiff’s claims brought on behalf of himself and the putative members of the

purported class as set forth in the Complaint, fail to state facts sufficient to constitute a cause of

action against Defendant.

       2.      Plaintiff’s claims brought on behalf of himself and the putative members of the

purported class as set forth in the Complaint requires individualized determinations for each

putative member of the purported class, thereby precluding class-wide resolution.

       3.      Plaintiff’s claims, and each of them, brought on behalf of himself and the putative

members of the purported classes as set forth in the Complaint, cannot and should not be

maintained on a class-action or representative action because: those claims fail to meet the

necessary requirements for class certification, including, class ascertainability, typicality,

commonality,    numerosity,    manageability,    superiority,   and/or   adequacy     of   the   class

representative; lack of a community of interest among the putative class; and/or because class

certification is inappropriate due to Defendant’s lawful policies.

       4.      Plaintiff’s claims brought on behalf of himself and the putative members of the

purported classes as set forth in the Complaint, are barred, in whole or in part, under the

doctrines of waiver, laches, estoppel, ratification, acquiescence, or unclean hands.

       5.      Plaintiff’s claims brought on behalf of himself and the putative members of the

purported classes as set forth in the Complaint, are barred, in whole or in part, by the FLSA’s

two-year statute of limitations and/or because Defendant did not willfully fail to comply with the

FLSA and/or applicable state wage and hour laws, and the longer three-year statute of

limitations does not apply.




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        6.      Defendant at all times acted in good faith and with reasonable grounds for

believing that it had not violated Wisconsin or federal law.

        7.      The Complaint fails to state a claim against Defendant upon which attorney’s

fees and/or costs can be awarded.

        8.      Plaintiff’s claims, alleged damages and alleged uncompensated time asserted on

behalf of himself and the putative members of the purported classes as set forth in the

Complaint, are in whole or in part de minimis.

        9.      The putative members of the purported class as set forth in the Complaint and

Plaintiff’s claims for damages should be barred, reduced or offset by payments made by

Defendant for which Plaintiff and the putative members of the purported classes received pay

from Defendant which they did not earn.

        10.     The claims asserted in the Complaint are barred, in whole or in part, because

Plaintiff and/or the putative class members have already received full payment of any alleged

unpaid wages for disputed work performed, rendering the Plaintiff’s claims, including those of

the purported class members, moot as a matter of law.

        11.     Defendant reserves the right to assert additional affirmative defenses that may

be discovered during the course of this action and may voluntarily withdraw any affirmative

defense asserted.


                                          CONCLUSION

        WHEREFORE, Defendant Quincy Bioscience Holding Company, Inc. respectfully

requests that the Court:

        A.      Dismiss all Claims against Quincy Bioscience Holding Company, Inc. with

prejudice, in their entirety;

        B.      Dismiss the Complaint with prejudice, in its entirety;

        C.      Order that judgment be entered in Defendant’s favor; and



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      D.     Award Defendant such other relief that justice so requires.


      Dated this 10th day of December, 2021.

                                       LINDNER & MARSACK, S.C.,
                                       Attorneys for Quincy Bioscience     Holding
                                       Company, Inc.


                                       /s/ Sally A. Piefer
                                       Sally A. Piefer
                                       Wisconsin Bar No. 1023257
                                       Samantha J. Wood
                                       Wisconsin Bar No. 1091367

LINDNER & MARSACK, S.C.
411 E. Wisconsin Ave., Suite1800
Milwaukee, WI 53202-4498
Direct: 414-226-4818
Phone: 414-273-3910
Facsimile: 414-298-9873
spiefer@lindner-marsack.com
swood@lindner-marsack.com




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